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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

ANTHONY J. WOODS CIVIL ACTION NO.

VERSUS

MAYOR LATOYA CANTRELL, officially

CITY OF NEW ORLEANS, officially

FRENCH MARKET CORPORATION, officially
KATHLEEN TURNER, officially and individually
RHONDA SIDNEY, officially and individually
N’GAI SMITH, officially and individually
ROBERT MATTHEWS, officially

Elizabeth S. Robins, officially and individually

SECTION: 20-00 482

MAGISTRATE:

SECT.1MAG.4

JURY DEMAND

FILED: , 2019

 

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CLERK OF COURT

PETITON FOR DAMAGES AND REQUEST FOR TRIAL BY JURY
I.

JURISDICTION AND VENUE
Jurisdictional authority is invoked pursuant to U.S. Constitution Article III § 2 clause 1,
28 U.S.C. §§ 1331, 1343 and 1367. Venue is proper in accordance with 28 U.S.C. § 1391.
U.
PARTIES
1. Anthony Woods is a person of full age of majority and domicile in the Parish of Saint
Bernard.

2. Mayor Latoya Cantrell is the Chief Executive Office for the municipality of the City of

New Orleans. a . —Lies ro = he

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3. City of New Orleans in the municipality for Orleans Parish.
4, French Market Corporation is a non-profit corporation authorized and doing business in
the State of Louisiana.
5. Kathleen Turner is a person of full age of majority, and Director of French Market
Corporation, who domicile in the Parish of Orleans.
6. Rhonda Sidney is a person of full age of majority, and Director of Human Resources for
the French Market Corporation, and domicile in the Parish of Orleans.
7. N’Gai Smith is a person of full age of majority and domicile in the Parish of Orleans.
8. Robert Matthews is a person of full age of majority and domicile in the Parish of Orleans.
9. Elizabeth S. Robins is a person of full age of majority and Deputy City Attorney for the
City of New Orleans.
Il.
NATURE OF THE CASE
This civil action is being brought to redress violation of U.S. Constitution 1°
Amendment; U.S. Constitution 14° Amendment Due Process; prohibited discriminatory
employment practices in violation of Title VI and VII of the Civil Rights Act of 1964, 42
U.S.C. § 1981, 42 U.S.C. §§ 1983, 1985 (2) and (3) and 1986; 42 U.S.C. § 2000(e) et seq.;
Hostile Work Environment; Harassment; La. Doctrine of Abuse of Rights; La. Doctrine of
Continuing Tort; La. C.C. art. 2315 Libel and Slander, 2316 , 2320, 2324, Intentional
Infliction of Emotional Distress, Mental Anguish, Continuous Torts, and La. Rev. Stat:

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IV.
STATEMENT OF THE CASE

Plaintiff is a Black male and a member of a minority protected class, who has a property
interest and right in his job position.

Plaintiff, prior to instituting this civil action, plaintiff exhausted his administrative remedies
through EEOC, filed charges of discrimination, and was provided a Notice of Right to Sue. See
Exhibits A.

The City of New Orleans receives federal and state assistance and therefore are subject to
United States and Louisiana constitutions, federal and state procedural and statutory laws, Code
of Federal Regulations and state administrative laws.

Plaintiff as a private citizen and permanent civil service employee has standing to institute
this civil action in federal court for injuries, causation and redressability for sustained damages in
his person and property.

Plaintiff contends that, at all times relevant herein, defendants were operating under color of
state law and their conduct was in violation of his protected federal and state constitutional and
statutory rights.

On April 1, 2013, plaintiff filed an application and was hired by French Market Corporation
(hereinafter referred to as French).

Plaintiff was initially hired as a laborer and reassigned to the position of painter.

Defendant, Kathleen Turner (hereinafter referred to as Turner), Executive Director assigned
N’Gai Smith (hereinafter referred to as Smith) as plaintiff immediate Supervisor.

During plaintiff tenure of employment with French, Turner delegated power of authority to

Smith to discipline, suspend, change work conditions, etc.
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Defendant, Rhonda Sidney (hereinafter referred to as Sidney), was the Director of Human
Resources.

On August 23, 2019, plaintiff engaged in a protected activity on his day off from French, and
brought his application for leave of pay to acting Supervisor Robert Matthews (hereinafter
referred to as Matthews).

Upon arrive at French, plaintiff entered into the maintenance office occupied by Matthews
and placed the leave form on the desk of Mr. Matthews for signature and copies to file in
plaintiff folder and record of Human Resources.

Mr. Matthews was engaged in a personal telephone call and became irate apparently because
plaintiff interrupted him while he was conducting his personal business on the phone, and he
threw the leave from on the floor.

Plaintiff bent down to pick up the form only to observe that, Mr. Matthews was standing over
him with a screwdriver in one hand and radio in the other hand in an attack position.

Plaintiff, in self-defense fearing for his life and potential bodily injuries from the objects in
the hands of Mr. Matthews reflex reacted and subdued the supervisor by grabbing his hand and
pushing him against the wall.

The incident lasted a very short period of time, and Mr. Matthews said, “I thought we were
playing.”

Plaintiff and Mr. Matthews proceeded, after the incident, and collectively rode up the
elevator to copy the document and down the elevator after copying the document.

Plaintiff avers that, the Department of Human Resources was a short distant from the
maintenance office occupied by Matthews, but he never went there to report the incident to

Rhonda Sidney (hereinafter referred to as Sidney) or Security on staff.
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On August 23, 2019, Turner drafted a NOTICE OF TERMINATION and forward it to
plaintiff alleging violation of Civil Service Rule XI.1.1.

Defendant French holds itself out to be an Equal Opportunity Employer operating under the
rules of Civil Service, Employment laws of the State of Louisiana and United States.

Plaintiff avers that, he was never contacted by his immediate Supervisor Smith.

Plaintiff has a property right and interest in his job position with French and is entitled to a
grievance process prior to termination of his employment.

Turner, on behalf of French, took adverse employment action and terminated plaintiff
without affording him an opportunity to be heard or a grievance process.

On August 26, 2019, plaintiff in accordance with Civil Service Rules filed an appeal to the
Commission of Civil Service for disciplinary action taken against him in contravention of his
constitutional rights, civil service rules and policies of French.

On August 27, 2019, plaintiff received a correspondence from City of New Orleans,
Department of City Civil Service scheduling a hearing date for appeal on October 24, 2019.

On September 5, 2019, after the scheduling of the appeal, Turner drafter a second
correspondence titled NOTIFICATION OF EMERGENCY SUSPENSION and NOTICE OF
PRE-TERMINATION HEARING, informing after termination, a 30 days emergency suspension
without pay beginning August 29, 2019.

On September 20, 2019, plaintiff received a second notice of termination from Turner
alleging basically the same falsified reasons in justification for her adverse employment actions

against his unsupported by a scintilla of proof.
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Plaintiff avers that, the contents of Turner’s first and second notice was fabricated and
disseminated false accusations charging him with crimes, use of profanity, and making threats of
bodily harm on Matthews.

Plaintiff avers that, Elizabeth S. Robins, staff attorney for City of New Orleans, made contact
with him but refused to identify herself and solicited him to agree to waiver of his appeal to civil
service commission regarding August 23, 2019, termination of his job position.

Attorney Elizabeth S. Robins improperly influenced civil service commission to declare
plaintiff's appeal as moot, on the basis his termination was rescinded on September 5, 2019, and
to remove his appeal from the docket in which she succeeded.

On September 11, 2019, attorney Elizabeth S. Robins sent an email to Stacie E. Joseph
requesting a continuance of the hearing set for appeal on October 24, 2019, due to City attorney
mandatory in-service meeting.

Defendant, Elizabeth S. Robins fraudulently misrepresented to Stacie Joseph that appeal no.
9067 had been resolved on the basis of an agreement with plaintiff or withdrawal of their
disciplinary action.

Plaintiff contends that, attorney Elizabeth S. Robins disguised herself from plaintiff and was
acting in representation of French and Turner as their lawyer and prior to completion of
suspension date in attempt to correct the wrongful termination.

On September 23, 2019, attorney Robins represented to Stacie Joseph that, she would file a
MSD to Woods appeal requesting removal of the appeal and the matter be placed before the
Commission when she file the MSD.

Plaintiff avers that, attorney Robins never filed a MSD as represented to Civil Service

Commission.
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Plaintiff upon receiving a second notice of termination was compelled to file a second appeal
to civil service commission to challenge the validity and veracity of the adverse employment
action being imposed upon him by Elizabeth S. Robins and Turner conspiratorial,
discriminatory, and unlawful employment practices.

On November 21, 2019, an appeal was conducted by the Commission regarding termination
of plaintiff job position.

During the hearing, it was ascertained that, Turner and Sidney collaborated to file the notice
of terminations predicated on their conjectures and perceptions of the event between Matthews
and plaintiff.

Plaintiff contends that, administrative and managerial staff members of French had a
ministerial duty to investigate but exercised discretion and failed to do so.

Plaintiff avers that, his immediate supervisor Smith had a duty to investigate the incident
between plaintiff and Matthews and report to management and administration but failed to do so.

During the hearing on appeal, Matthews provided conflicting testimony under oath to the
disposition of French, Turner, Sidney and attorney Elizabeth S. Robins of the incident that
occurred on August 23, 2019.

Plaintiff avers that, defendants acted in concert to deprive and deny his freedom of speech to
contest the allegations made against him.

Plaintiff avers that, defendants falsely and wrongfully terminated his employment without
providing a right to confront his accusers and evaluate the evidence against him before
termination of his job position.

Plaintiff avers that, administration/management celebrated by pronouncing his termination in

a group meeting at French Market Corporation facility before the employees.
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Plaintiff contends that, defendants’ justification for his termination is pretexual.

Defendants concocted a scheme falsely accusing plaintiff of criminal activities, summoned
N.O.P.D. to arrest him, and publicized and disseminated false statement with the knowledge of
its falsity.

Plaintiff avers that, prior incidents contributed to creating a hostile work environment
towards him by staff members and employees.

Plaintiff avers that, defendant deprived and denied him of his fundamental right under federal
and state constitution and statutes asserted in this complaint.

Plaintiff contends that, acts and omissions of defendant constitutes violation of Civil Service
Rules and Employment policies of French.

Plaintiff contends that, defendants acted in concert under color of state law to deprive and
denied him of protected rights under the laws of the United States and Louisiana.

Plaintiff contends that, acts and omissions of defendants was in violation of his civil liberty
and right to freedom of speech and right to redress of his grievance in violation of United States
Constitution First Amendment and Louisiana Constitution Article I § 22.

Plaintiff contends that, acts and omissions of defendants failed to provide him procedural and
substantive due process, equal protection of law in violation of United States 14° Amendment
and Louisiana Const. I § 2, no action was taken against Matthews.

Defendant Turner delegated power and duties to Smith to monitor and evaluate plaintiff and
terminate him for any reasons.

Plaintiff reported his concerns to Sidney, who failed to take any action on his behalf to

address job related concerns.
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Plaintiff was the primary care provider for his terminally ill wife, when his immediate
supervisor Smith, who suspended him for ten days without reason which was overruled by civil
service commission.

Plaintiff was suspended by Smith on the basis that he was unable to locate him when in fact
the supervisor was not at work during the allege time plaintiff was missing.

Plaintiff contends that, Turner, Sidney and Smith are very light skinned people who are bias
and prejudice against him because he is dark skinned.

Plaintiff contends that, French, Turner, Sidney and Smith discriminated against him because
of his color.

Plaintiff contends that, defendants French, Turner and Sidney refused to promote him
because of his color a dark-skinned black man.

Plaintiff contends that, light-skinned employees were treated better than he was treated by
Turner and Sidney.

Plaintiff avers that, Smith verbally and physically assaulted employees in the presence of
others and was recommended to anger management training which did not deter his demeanor.

Plaintiff employment was terminated by French, Turner and Sidney for allegedly committing
an act of assault on a supervisor.

Plaintiff avers that, he reported his religious convictions and practices to Smith and asked
that his right to weekends office be recognized.

Plaintiff avers that, Smith after being informed of his religious practices changed his work
schedule to compel his to work on weekend performing other job duties besides painting.

Plaintiff avers that, French, Turner and Smith formed a paint crew to fulfill his job duties and

responsibilities after termination of his employment.
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Plaintiff, during his tenure of employment, was classified as a painter and was forced to work
alone.

Plaintiff avers that, Smith called him and another employee lazy shiftless N words in the
presence of other employees, and neither Turner nor Sidney took any corrective action after
being informed of the incident.

Plaintiff contends that, French, Turner, Sidney and Smith was insensitive to his role to
provide health care for his terminally ill wife, who underwent lung transplant to save her life.

Plaintiff avers that, defendants ignored his religious practice and despitefully scheduled him
to work weekends.

Plaintiff contends that, defendants acted in concert to retaliate against him because he
exercised his protected right for work-place violations imposed on him by Turner, Smith and
now Matthews.

Plaintiff avers that, Turner/Smith have scheduled weekends off for Matthews since the
termination of his employment

Plaintiff contends that, defendants acted in concert and conspired to terminate his
employment.

Plaintiff contends that, Turner authorized and commissioned Smith to harass him during his
tenure of employment without corrective action to ensure his rights as an employee of French.

Plaintiff contends that, City of New Orleans, French, Turner or Sidney knew of the violations
going on or should have known of the violations going on, had the power to prevent the
violations and chose not to prevent civil and criminal violations against him.

Attorney Elizabeth S. Robins acted respondeat superior on behalf of City of New Orleans.

Defendants Turner, Sidney and Smith acted respondeat superior on behalf of French.

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Plaintiff contends that, defendant City of New Orleans is vicariously liable for the acts and
omissions of their non-profit corporation administration and managerial staff tortious conduct.

Plaintiff contends that, French Executive Director, Director of Human Resources and Staff
Supervisor constitutes an abuse of rights strictly deployed to cause injuries to his personal and
property.

Plaintiff avers that, defendants acts and omissions intentionally inflicted emotional distress
on him.

Plaintiff avers that, he has suffered mental anguish as a result of defendants’ unlawful
employment practices.

Plaintiff avers that, attorney Elizabeth S. Robins were unethical in violation of Louisiana
Professional Code of Conduct rule 3.3, inter alia.

Plaintiff avers that, Civil Service Commission has not reached a determination of his appeal,
and defendants’ actions are continuous requiring court’s intervention.

Plaintiff avers that, without court intervention social, economic, personal and property
damages suffered as a result of defendants violation against plaintiff will perpetuate.

Plaintiff in the interest of justice seeks redress of his aggrieved right and interest
circumvented by conduct of defendants.

V.
RACIAL DISCRIMINATION CLAIMS CIVIL RIGHTS ACT OF 1964, 42 U.S.C. § 1981
a. Termination of Employment
Anthony Woods asserts unlawful termination, retaliation, failure to promote and hostile

work environment in violation of his civil rights.

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Section 1981(a) provides that ”[a]ll persons within jurisdiction of the United States shall
have the same right in every State and Territory to make and enforce contracts, to sue, be parties,
give evidence, and to the full and equal benefit of all laws and proceedings for the security of
persons and property as is enjoyed by white citizens, and shall be subject to like punishment,
pains, penalties, taxes, licenses, and exactions of every kind, and to no other.

VI.
CIVIL RIGHTS ACT OF 1964, 42 U.S.C. § 1983

In pertinent parts, provides Every person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State....subjects, or causes to be subjected, any citizen of the
United States... to the deprivation of any rights....secured by the Constitution... shall be liable
to the party injured in any action at law, suit in equity, or other proper proceeding for redress...

VIL
EXHAUSTION OF ADMINISTRATIVE REMEDIES

Plaintiff avers that, prior to institution of this civil action that he exhausted his
administrative remedies through EEOC, filed charges of discrimination and obtained a Notice of
Right to Sue letter. Charge No. 461-2019-02807.

VIII.
SUFFICIENCY OF COMPLAINT

Plaintiff contends that, pursuant to FRCP Rule 8(a)(1), (2) and (3) this complaint is

sufficiently plead to meet the material requisites of the federal and state claims asserted herein,

notifies defendants of what are the claims against them warranting an answer.

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IX.
PRAYER FOR RELIEF
1. Plaintiff prays this Honorable Court enforce the U.S. Constitution 7" Amendment to
allow this case to be tried by jury for all issues so triable.
2. Plaintiff prays defendants are found in violation of the claims asserted in this
complaint.
3. Plaintiff prays this Honorable Court find defendants liable insolido, jointly and
severally.
4. Plaintiff prays this Honorable Court find entities defendants vicariously liable for acts
of their respective servants and employees.
5. Plaintiff prays this Honorable Court awards compensatory and punitive damages
against defendants.
WHEREFORE, plaintiff prays this Honorable Court issues summons and complaint on
defendant parties, and they are made to appear and answer same, Plaintiff further prays that, after
all due delays and proceedings, judgment is rendered in favor of plaintiff and against defendants
for all general and equitable relief proper in premise including but not limited to court costs,
attorney fees, out of pocket expenses, penalty and interest from the judicial date of demand until
paid in full.

Respectfully Submitted

By: [Mtr drole

Anthon$Woods / In Proper Person
3005 Packenham Drive

Chalmette, LA. 70043

(504) 575-8622

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Case 2:20-cv-00482-LMA-KWR Document 1 Filed 02/11/20 Page 14 of 17
|

313 PLEASE ISSUE SUMMONS AND COMPLAINT:

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“7. Case 2:20-cv-00482-LMA-KWR Document1 Filed 02/11/20 Page 15 of 17
EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Anthony J. Woods From: New Orleans Field Office
3005 Pakenham Drive Hale Boggs Federal Building
Chalmette, LA 70043 500 Poydras Street, Room 809

New Orleans, LA 70130

 

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Mildred B. Johnson,
461-2019-02807 Intake Supervisor (504) 595-2827

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. «No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

HO HOU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years

before you file suit may not be collectible.
Wief2019
/

Enclosures(s) ( Noate Mailed)
Director

ce Rhonda L. Sidney
Human Resources Director
French Market Corporation
1008 N. Peters Street
New Orleans, LA 70116

 

   

behalf of the Commission

_ PLAINTIFF'S. —
j EXHIBIT

 
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EEOC Form 5 {11/09}

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge Nofs):
This form is affected by the Privacy Act of 1974 See enclosed Privacy Act [| FEPA
Statement and other information before completing this form
[x] Eeoc 461-2019-02807
Louisiana Commission On Human Rights and EEOC
_Siate or local Agency, if any

Name (indicate Mr., Ats., Mrs.) Home Phone (lnc! Area Code) Date of Binh
Mr. Anthony J. Woods (504) 575-8622 1956
Street Address City, State and ZIP Code

3005 Pakenham Drive, Chalmette, LA 70043

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Locat Government Agency That | Believe
Discriminated Against Me or Others. (if more than two, list under PARTICULARS below.)

 

 

 

 

Name No Employees, Members Phone No. (include Area Coda)
FRENCH MARKET CORPORATION,(CITY OF NEW ORLEANS) 15 - 100
Sueet Address City, State and ZIP Code

4100 Touro Street, New Orleans, LA 70122

 

 

 

 

 

Name No Emeltoyees, Members Phone No. (include Area Coda)
Sueet Address Ciy, Stale and ZIP Cade
DISCRIMINATION BASED ON {Check appropriate box(es).} DATE(S} DISCRIMINATION TOOK PLACE

Earftest Latest

[x] RACE [x] COLOR [| SEX [] RELIGION [| NATIONAL ORIGIN 01-01-2018 08-23-2019

[x] RETALIATION [] AGE L] DISABILITY [] GENETIC INFORMATION
(J OTHER (Specify) [| CONTINUING ACTION
THE PARTICULARS ARE {if adaitianal paper is needed, attach exira sheel(s}):

| began my employment with French Market Corporation, (City of New Orleans) on April 1, 2012, most
recently as a Painter, earning $16.00 hourly. In 2018 and 2019, ! was constantly harassed and
threatened to be terminated by Mr. Nagin Smith, Supervisor, (Hispanic). In early 2019, Mr. Smith
called me a Nigger. | reported this to Ms. Kathleen Turner, Director, (Black). On August 23, 2019, |
was in Mr. Robert Matthews office turning in paperwork when Mr. Roberts threw the paperwork at me
and it fell to the floor. When | stood up from picking the papers up, Mr. Roberts was standing over
me with a screwdriver in his hand. !n reaction, ! pushed Mr. Roberts away from me. | was discharged
on August 23, 2019. The company employs over 15 persons.

 

 

According to the company | was discharged for alleged violation of the City’s Policy 83, regarding
Standard of Behavior.

 

 

| want this charge fited with beth the EEOC and the State cr local Agency, if any. | NOTARY - When necessary for State and Locat Agency Requirements
wil advise ihe agencies if | change my address cr phone number and | will
cooperate fully with them in the processing of my charge in aceardance with their

 

 

 

procedures. } swear or affirm that! have read the above charge and that It is true to
( declare under penalty of perjury that the above Is true and correct. the best af my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

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Date Coxfargind Party Signature 9033-92412 93

 

 

 
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EEOC Fern $ (11/09)

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [J FEPA
Statement ang other information before completing this form.
[x] ee0c 461-2019-02807
Louisiana Commission On Human Rights and EEOC

 

State or local Agency, if any

 

| believe | have been discriminated against because of my race, Black; Color, and retaliated against in
violation of Title VIi of the Civil Rights Act of 1964, as amended, in that, French Market Corporation
(City of New Orleans) did not terminate, light-skinned or Hispanics over the same.

 

 

t want this charge fled with both the EEOC and the State or local Agency, if any. ! NOTARY - Whan nacessary lor State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperale fully with them in the processing of my charge In accordance with |heir

 

 

 

procedures. I swear or affirm that | have read the above charge and that it Js true to
| declare under penalty of perjury that the above is true and correct, the best of my knowledge, Information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
“ ~ (month, day. year)
Date ging Pasty Signature

 

 

 
